                  TAM€S
              Case 1:19-cr-00077-JB                L
                                    Document 152 Filed 07/14/20 Page 1 of 7
                               O, BRoTNNzN

       A t-Rffi t|/tftD€ 'r pa4guff)vT-   n+E,..,qo\       M"
                        of '' T7/E LAry\l                4.ND
 BecttmaS A P*tr
 SH\4LD I3r HoNot€D)' Bbrr T          po€s W$AffiLLBEwte
tr gqpR@1_'t oK    TTE€ R€IED E7\tt€ ov€i< *'oW*;- Pq -
 Er7lE                coxsrurutrzaN. v                     Ts NoT ru€
,,LAv,(       oF fi+E t ptNl:,'t sflNDTNG ,*LoN€ . AND No
'fR*Tt o< EXq,UfrYE *6RWta'tT Zs J3zvazNa oN
-rl4€ t,(, S, A . rF lvAE By ftLE R€szDETtT ALDN€
                                                      *N >
Qos FtAs Bmt Do*) Wr41 T1-tE l+DvzlE
 cttNs€TtT o,F T7+€ gA,/Av€/ NoK Z:F ET VZoLAE
T"tE coNsrsutz,oN ,
                  ALrl-.tA Lt-Y / AR-rCtE V', , ENST€74> oF
    5e7'7-*^          ffie77r€s       oN /4TGH o t? BezNd A
  4 DEATT+ ftA7" . rS          A stwnzmElr' of Tu€'
 Suprcam1m*LY Otr Tt+€ coNsrzT-otrruN AND
                                                            F
 TuE NAr-aNAl- Govm.N /',tzNT- . LAWFnL zK*r=ES
   AR€--t   ft frtr OF, Butr surBoRDg'lftT€        fl, T+t€
 LoN sTzr t trzoN           trD< TF+E ,E/w PLE =7-'4rcD
 fffovrsro1,,1
 {l\c) -t-c-ut'1y
   Y                77as(erN
                    tf '1*-         r+tftr ALL- LAws ^^?-F*
                                                         lt

i'ur- B€ ..4ADE aZn Prresunxn ffmF:
              ClrN 71tE "aa*-rr*,"                 (oR * fom)          Pa-owt€
 Gurnrc. iient it              @,                   ;( rtlz          \Nl-toLE -7
{orna ftrn*.JCCAJ\/ CornrnoN 5E7vs€ fr
                                                                     N€C€#*I<Y
uNALLTVtTsgl'*rtlERABtLtTTt+€s'uPnans4lpQ
otrt4Arffi,\NnrcHEsfr',ornucnoarcf,t-*<oeti
                               TO DZS1RdDU oR DTrwtgtl
E7   rAe     oN.'^tNoRL-DERS
                          50 fl+Ef c^f.t A cN EalE n1L=R
Tl+E coNsrrrurroN
At,.r}N EI'lDt:                                    *15
                TThE 24fl6u*GE *ND TNT=NT oFcL*<
 CDNSrrvur.roN z-1ND oF ARIT<LE Vt , -3
AND ftxrt+xvailr, ND Do€s NoT *DrlTTt
                                              ltrfzazo
             Case 1:19-cr-00077-JB Document 152 Filed 07/14/20 Page 2o-7
                                                                     of 7
                Tane5 o ffiowNTNb           71 L
    TN G*p fatrtt,       oF ,etNY O7TuR, zNB.Wrtrv'flN"
 BtAr 5ftDLY Elxtaq6il , D -6 \NELL- KNowN n1*T
 NANV oF ouR HrAtt*r            JTiDTc-zfrRY ANL>
 ELZTA) OFFzca+aS - D! 778 ER{ oF
 crTREAlicN tt NoT RAw'l
                              -  DO NOT ALT TN
    :-
              ,
  @op pzzH No< zN lr Rlegu,4xcZ otr 7vE caq*=rttz$)lt
              A.ND A.S 'i7.j- AI?TZCIE VI B:NA      A
  k WnrtRfr,p t'
                 ,o-< W ttzct+ 77t€ Cot!fi-zz.trZoN   CezysS
  1to coNTRot- eR Re-nEz'Y           7Vl^N zr=;
 EtrR_Tffi t_*NAq,*<oE D1 ARTTCLE Vt Ke-&+RDzqa
THE lAW 7.ND TRA+z-$ " HAS zT Oczt-,t RR€D 7o
                                                *ND
 Yru TIIAT TuE -St4PRz??€ Cou Rr- H*5 ftvwa-<
juz*oRrfl    -7D KuG oN fltE CDN57:Tor=oNAL-2ry
otr :,-K,efr€s Tl(€ -'f./r\A A 5 ON T\E <aU5rArurur/atD1/
oF Arly OTv*. tr+W 1T4TZ6' B@'/d n1ffiElN "POKi,Z
btr Tt+€ LA*/ oF ?-7E z:INEI\ ? AErzctp E , s;acr=oxt

l=:l,r'"<'
                                             THE  LAWS  lgf   TrE
)p>A         TATS     coNSTzTu('7':zaN
                      -),^r4+Lt--tAAl     /
4NZT€D S*t€s, / AND 7<.ATz€s A AD€/ oR tNHzcjl                     TO
,HA:-L      Bt /\,!J.DE   /  uND*;<     771€27< r*ur-t+oKzfl'"
                   C otySTTTL{Tzar! oF 77tA L(NZEI)
                                                                 57A-12=l
 QUoT€      THE
 ,r yyilo,( A CASE AR6€S -D\/ A 57.*T€ cautRT- AMD
                                      OF 7VE  CoNSTzT?iz-afl       o<
  INvot-v€| A QuesTLoNoK o€ A 7_-Rary/ -rr -r1 77+€             ',
 Nt Acf oF CyN6R45,
  Du.rnoF?71€.,u^lvoFoLLowANDENrot<cC     uew; Fon zttE
;;; NATTyNAL lcertsTni'ln-ToNAtf
 cc)^l5Ttrt-'trzortEl?t'zcrruYAND.APHATIcAtLy
                          "JuDG€=; T'/v bte<'Y s*ve
R€Q./aRE.S   fr+AT  zz-rE
                                               zN ruA
 5tt*tt B€     Bat<*>   a74*4Y/   ANyrttzNG
 coN STUUTTON o,< LAW 5 oF ANy'
                                        ;v+T€ 7v 774€
                        Case 1:19-cr-00077-JB Document 152 Filed 07/14/20 Page 3o-1     / t: f za   zo
                                               or fift611-/Nzttlc                of 7
                                                                                 Pa3
                                                                                  \r
       coNrRa<y' lvoT\Ngtl SrvNp'rt-t6                                                        7
                                                "' W r 1-aLr.r-oN '
               A'itD 50 t 'tt INriE:R /.R-r-Tc,t-€
     ct*u7eLeF77+ECdN;7ZTZtreaN"'$-ua?/77<*7-t/
    oR. LAWS cAN B,E                WzTllour " RESTRZLToN /-
                         ^^ADt
    I-TTAITTT=yNIexc^*rzoNoRRryERvhrzoflmamt=-E
    oF Tt+E r*cr Ta+AT -TT c-oN7--RAu74, u-1??*'
                                      evx'Y   ARTZ'LE     oF 77t€
    glFRfl\tca   oR  Atfrte7-6                           fr FDR
                        ALL           Ts   N€(EsSt+<\/
    C-oN STTTtJrcoN ,
                               77tA7-
                                          az   RATZFT    ANY
    THE PR6TDz-rtT-zs   ryl'tD  Sdfr7€                    At<T=(JE
                            ;    ;'RA'      7?-(L 'AB,\/E
    IREAT-,/ AND T
    ANDLLftuS€LrK^^t1g.D4NdT57.AN>nt}NEl           N
    BuTTvlu1fB€cpN:rRu*-fl!7fl8L.EGHToFTTE
                               /%"  zN-reR'PXetpzo
                                               p6a6r)2zNd
            c aN srzr"--;
EilTTR€ oNL{ fl ,i;.
Ts NoT D-                = 'f"=^'{;-'-'-)lE                                       *#'*u
tr*r+ *s AN    a.::=  ui!"X,E"-^"*           *i RE,?#                                               BY


                              l*;
 gur  7-o ekY 77+AT
                    .                      Re-'a'^rRtfi)

?i:r r :
                                                                             o
pXrraZ             fr         Sectr'q'- V'oF
                                                     Fffi:,:
                                                         Trt€     *q7,-u,
                                                                    L4,9'      (-'otv>t-'-'
                                                                                 LANbuAGa
'                                                "      bafiJcr-f
                                                     Tr*E                                                -.l

    A^/D aN ,ri,o'-o'u fl
                       " |ir.",
                                                                    'r   7J4as     cxsz%'
rr#fl1*+:ii*-
    A^jP   t r'-
                =rY' 1#* -t   r,-ts   ff-l    -iax>u'Fr"-
                                                     ^';'"T     * x--.+t/ A€ Tl-lE
*E ry
*NTTED
      *77',-ff;
           sr*tE,
                    .
                  , , . ), A s w6tl
                6*rutN€       co*sr=rorr,,xt-
                                               Auflt sqartrs
                                                       .:^vENtr5
                                                                a,5 Al L *urtt oRrrwre

R*JNaE      By               ANYn)n!6   WHaH    :I':Tr
           trrz<r  fHar                       T5'fuuu-
at) T-t-+€                oF   71+€ 1)"9'P. '
2,- LDNgrTTurra't                             Acr= t=y' TrtE
    '&
     tn,-   -Y::,,,i)*,
          v:::;,#7':,-
                                                  MY 5ucH
                                                 oF rv€ szaodG                           'z
    CoNGR€55i UL>'    .-r-.-,r, a-Nry7,RpReTAT-oN \N'
                                trffiPR{AtzoN     157auLp
                   'r YruR" .ES
    ftetlqarE THAT                Af3 SO:_uqTEUY N O
    LLATA THAT TT+ER€
                                        O,
            Case 1:19-cr-00077-JB Document 152 BKO\^/NZN
                         51lptgS                              C 4 of 7
                                               Filed 07/14/20 Page       o-7   /rtf zozo
                                                                          7e+
   1,/o coN7TffuttoNAt- ;Affi 6unRD fr'< n+E             7pg\ntr$
 arneRr1AN                A*AT^IST     'r-7<eAs$rlou1tt
       LAh\E  (*trtu    " 41:rvES /EZ)  AND   corq'flff 7o ouR
AllD
 EN1?4E€S "' AS tex AtrzdE '77/
                                            SacrzoN 3) '
         ''YntlR" fr'{ffi,?RffiTzoN         \No'u L'D 6rtzE
(orvr FL^re. Et4 rYt t-'1 N Td      7a T-a+E /vt*K€&
                tasS   {ot+N     Thut- Fryal)    /  of  5ucH
Qz t),luc    +
                                                        "CAANG^|L
-fRaqT-.4 *ND fxvts \N1I:.rtLb coNSrryutve                    or     @ER:AL*
Tl+E coNsrsurroN Bl- y":r*N
freeu*$yhBusEoFPoWpT,tfl-lVtolATraN
                      ,FURIT,  r'./\ID tsrR oF flE
otr T+t€ urt\-a\\tT /
C\NSr=T14TfiDN AS
                      A vl+otE'                            .t    ,               '
                                                  6        {,out
         5-^rn€3 O' pl<otr/{zN t          lnvatr
                              fEi- ltd.la LE@ATNLY
 V{ CornrvttnE,TR#isoi-,        grTLL    >b  TTPE
 ftR€ cLosE ,  vru, S7,x', LAt{
 fnrKhu-'/    D EnlflALLl CDRRai i4065aN^L
              AN


**Vx             &tr;fri"ru*
                H Bff     ro
                                "'-*)'
                             ovRRuuE
r/ru S:rR F^va it
                    ftweR                           Tf+{-s
       t                        O'-A\\T- /v'ftN AT-
       D               A'-/ ENN
 H1r
                 rHa ZNreRssr oF                 Amffita"t
          50 IN
       ^CA'/TT
 fuaflT'                                                                   n4zNG
                livt D" !'  ffarlT
  LoNSTfuTIfNAL
 pe
 'AND
      t/ru s\NoRE '
                ^N "tf-::ff'T"
      ":y3*u#2,,
aT+T9 rn:
                  :!:p'fnE
                  (putr- vd't€'
                                                                    /*ND

Trl 5A,N;'";'w'                                                            flil,"^
    r( A / A, ,<T't
      Case 1:19-cr-00077-JB Document 152 Filed 07/14/20 Page 5 of 7


To:        CLg< R      OF fr/f       (t)t t RT-
            / | /1 - ''<. - o@-77 -sB
      )L
c*38*
Tgsg          L71?E< THT; D/fl                RelAb
RaevaD AND frwARD 7a JHn€S o
ERoilN=NL'' couzT Fo< vra*tzN6 '
7T Re *-aE t rla<-eea AND DoA-(m^tr
THTS F*IoWENC tn_,r4 k>oR*gq
                          l1
7o " ;rvmrs o' Kovrtt'@ttL ,
Vlcrns3t 7D zHz5 7 s .sraNcD
BehN ALDNc Wfr7+ DfuDATW=
9T6NAryt4RE . TVAN K Vnt AND
Rrste'rrru/Ll ftffiKacr*Tb-D.



MAu Rtos S. w\)         vL           MTqz€L           T,    NTSSr'-I
                >lNYyi,?
Case 1:19-cr-00077-JB Document 152 Filed 07/14/20 Page 6 of 7


                                         *qo                   a6
      V                                  -,'|)
                                         \,                    lll
      z.(.                         C ''iil
                                   Ii:-.
                                                   O
                                                   (t)
                                                               u-
                                                                J
                                                                'r.tl   y.
                                   c-''.,     :                 ;G.
                                                                *Lu
      (                                                         ))
                                   s';                  )       do
                                                                -i
                                   u '.
                                   tr-a;
                                                        ---)
                                                                   C)
                                                                   E
                                   L2<
                                   U)
                                   LT

                                   E: I           ql
                                                               rr/
                                                               a
          H                        !I \           r,l
                                                               fr.
                                                               bo
          *                        H              b
          &
          iLJ      IJ
                                   An-            U
                                                  rS
          n        I\l
          #H * -                   '4 0o
                                   \J
                                          I       tu t.        s
          dffidru                  h
                                                  NNI
                                                  l'. t
          id !E tfl ,ig                                        [.u-
          'rt E    !'.i 6,         S.      LA                  \
                                   hr
              ;.

                                                  TNH (\-
                                                      sr
                                                                             o
                                   Aq tY\i
                                           T                   \J            r-
                                                                \            rt
                                   tur
                                   l-.            \            \
                                                                \s           r-
                                                                             N
                                                                             (lt
                                   l-l     F.\    d            r$             I
                                                                             {!
                                   Zlo                         -J            fi
                                   Sm                          <.            fr
                                                                             &


                   tt
                    E
                    e
                    !l
                    k
                    N
                               i


                         r{i
                         o

      $*,I \             u\




      di;i
      \rq; t
                         \

                H
       b\do{
       Inl s. !
Case 1:19-cr-00077-JB Document 152 Filed 07/14/20 Page 7 of 7




              z F-7
                Y
                                                     @
                                                     cl
                                                     o
                                                     !.
                                                     o
                                                     f
                                                     @




                t.-

                                 V
                                  L
                                tr
                                .-J

                                 a
                                 F-\
                                 [--
                                5
                                L
                                F-l
                                r-
                                \n
                                ts
                               L)
                                            @
